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                                  UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF IOWA
                                        CENTRAL DIVISION

 WILLIAM MURR, On Behalf of Himself and                Case No.:       4:10-cv-369
 All Others Similarly Situated,
                                                       CLASS ACTION
        Plaintiff,
                                                       CLASS ACTION COMPLAINT FOR:
                v.
                                                               1. BREACH OF CONTRACT; and
 MIDLAND NATIONAL LIFE INSURANCE                               2. UNJUST ENRICHMENT
 COMPANY,
                                                       DEMAND FOR JURY TRIAL
        Defendant.

        Plaintiff William H. Murr (“plaintiff”) brings this action on behalf of himself and all

 others similarly situated against defendant Midland National Life Insurance Company

 (“Midland” or “defendant”), and states:

                                    JURISDICTION AND VENUE
        1.      This Court has original jurisdiction pursuant to 28 U.S.C. §1332(d)(2). The

 matter in controversy, exclusive of interest and costs, exceeds the sum or value of $5,000,000

 and is a class action in which some of the members of the class of plaintiffs are citizens of states

 different from Midland. Further, greater than two-thirds of the class members reside in states

 other than the state in which Midland is a citizen.

        2.      Venue is proper in this Court pursuant to 28 U.S.C. §1391 in that many of the acts

 and transactions giving rise to this action occurred in this district and because defendant:

                                   (a)   is headquartered and authorized to conduct business in this

                 district and has intentionally availed itself of the laws and markets within this

                 district through the promotion, marketing, distribution, and sale of its products in

                 this district;

                                   (b)   does substantial business in this district; and

                                   (c)   is subject to personal jurisdiction in this district.
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                                             NATURE OF ACTION
               3.       Midland develops, markets and sells insurance products, including annuities.

       This action is about Midland’s failure to abide by the express terms of its annuity contracts when

       calculating the amount of money its customers are owed when they surrender their annuities.

       Specifically, Midland incorrectly calculates the amount owed when a customer surrenders an

       annuity by failing to correctly apply the “Interest Adjustment” in determining the “Surrender

       Values,” as those terms are defined in the annuity contracts.

               4.       Midland’s conduct constitutes a systemic breach of contract, and results in its

       unjust enrichment.      In addition to seeking damages and restitution, plaintiff also seeks

       declaratory and injunctive relief to define the parties’ rights and obligations and to stop

       Midland’s ongoing misconduct.

                                                     PARTIES
               5.       At all times relevant to this matter, plaintiff resided in Surprise, Arizona. During

       the class period, plaintiff purchased and surrendered a Midland deferred annuity. The surrender

       was processed and the amount of the surrender calculated from Midland’s office in West Des

       Moines, Iowa. Attached as Exhibit A is the certificate for plaintiff’s Midland deferred annuity.

               6.       Defendant Midland is, and at all times relevant herein was, a stock insurance

       corporation which, since 1999, has been duly organized and existing under the laws of the State

       of Iowa. At all times relevant, Midland has been authorized to transact and is transacting the

       business of insurance in this State and within this judicial district.

               7.       All of Midland’s annuity operations are located in and administered from West

       Des Moines, Iowa and are conducted as part of the Sammons Annuity Group. Midland and the

       Sammons Annuity Group are owned by Sammons Financial Group which, in turn, is owned by

       Sammons Enterprises, Inc. Midland markets and sells through its licensed sales agents various

       annuity products, including fixed, variable, indexed and immediate annuities in 49 states, the

       District of Columbia, Puerto Rico, Guam, the Virgin Islands, and overseas at military

       installations.


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              8.      According to its website, Midland has more than one million life insurance

       policyholders and annuitants nationwide, with more than $119 billion of life insurance in force.

                                         FACTUAL ALLEGATIONS
              9.      Annuities are contracts sold by a life insurance company that provides fixed or

       variable payments to the purchaser or the purchaser’s designee, either immediately or at a

       predetermined future date, depending on the terms of the annuity agreement. The income is paid

       from the agreed upon date either until the death of the person on whose life the annuity is priced

       (known as the annuitant) or for a specified number of years. Annuities can be classified as either

       deferred or immediate.

              10.     With immediate annuities, in exchange for an upfront payment, a consumer

       acquires the right to a stream of periodic payments from the insurer beginning immediately after

       the first payment period (typically after one month or one year), and commonly is guaranteed to

       continue for as long as the annuitant is alive.

              11.     A deferred annuity is an “accumulation” annuity product under which payments

       are made by the annuitant, either through a single premium or a series of periodic payments, and

       left to accumulate on a tax-deferred basis over a period of years. Often, the annuity is structured

       so it will begin paying income to the annuitant at retirement. The types of annuities at issue here

       are deferred annuities.

              12.     There are several kinds of deferred annuities, including a “fixed” deferred annuity

       and an “equity-indexed” deferred annuity.1
              13.     Purchasers of Midland’s deferred annuities select from a limited number of

       investment options. For example, Midland offers annuitants the option of investing premiums

       in: (a) an account guaranteeing a fixed minimal rate of interest return; (b) an account whose rate

       of return is dictated by a specific market index, such as the Dow Jones Industrial Average or

       Standard & Poor’s Composite Stock Index; or (c) an account which combines these two interest

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               In addition, there are “variable” annuities, which are not at issue. The annuities at issue
       are referred to throughout this complaint as “deferred annuities.”


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       accrual methods. These latter two types of deferred annuities are sometimes referred to in the

       insurance industry as “equity-indexed” annuities.       The accumulation value of the deferred

       annuity increases over time, in relation to the performance of the selected investment options.

              14.     Midland utilizes a fully integrated, standardized adhesionary contract for its

       deferred annuity products, which it prepares and issues. In some cases, as in this case, certificates

       are issued under a master contract which binds the insurance company and the annuitant (and

       any beneficiary) to the annuity contract. For ease of reading, and because this distinction is not

       relevant to the issues presented, the annuity agreement will be referred in this complaint as the

       contract.

              15.     Midland’s annuity contract strictly limits how changes to the contracts may be

       made: “No one has the right to change any part of this Certificate or to waive any of its

       provisions unless the change is approved in writing by one of Our officers. Only our President

       or Secretary may modify this Certificate. We may change this Certificate without Your consent

       to conform to state or federal laws or regulations. A change will be made by attaching an

       endorsement to this Certificate.”

              16.     Midland has never issued an endorsement on the Interest Adjustment at issue or

       the calculation or its application to the Surrender Value.

              17.     Pursuant to the terms of the annuity contracts, consumers “may surrender this

       Certificate for its Surrender Value at any time prior to the Maturity Date.” The Surrender Value,

       and each of the factors needed to calculate the Surrender Value, are set forth in the annuity

       contracts. The annuity contract provides that the “Surrender Value” is equal to:
                              1)      The Accumulation Value; multiplied by

                              2)      The Interest Adjustment; less

                              3)      The Surrender Charge; less

                              4)      Any applicable Premium Tax.

              18.     For the Interest Adjustment, Midland’s annuity contracts provide:



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                            An applicable Interest Adjustment will be calculated by
                     multiplying the amount withdrawn before the reduction for any Surrender
                     Charge by the formula described below:

                     [(1+io - 0.005)/(1 + it)^(T)

                     io = The Current Interest Rate (excluding any additional interest) when this
                     Certificate was issued.

                     it = The Current Interest Rate (excluding any additional interest) offered
                     for new Certificates.

                     T = Time in years as follows:

                     Number of days from the date of the partial or full surrender to the end of
                     the current Certificate Year divided by 365; plus whole number of years
                     remaining in the Surrender Period.

                     An Interest Adjustment will only be made when a Surrender Charge is
                     deducted.

              19.    Midland breaches the annuity contract by failing to compute the Interest

       Adjustment according to its terms. Instead, in breach of the annuity contracts, it manipulates to

       its benefit the value of factor “it,” defined as “The Current Interest Rate (excluding any

       additional interest) offered for new Certificates” or “The Current Interest Rate (excluding any

       additional interest) offered for new Contracts.” Regardless of the language used, the “Interest

       Adjustment” formula specified by contract is the same.

              20.    Depending on the particular Midland deferred annuity product, and for reasons

       not relevant to this lawsuit, Midland defines the individual annuity purchased by consumers as a

       “Certificate” or a “Contract.” For example, attached as Exhibit A is a copy of plaintiff’s Legacy

       Bonus 11 annuity contract which Midland calls “Certificate Number 8500183470.”               Other

       Midland deferred annuities are identified by a “Contract Number.”

              21.    Contrary to the terms of the annuity contract Midland applies the wrong interest

       rate to the “it” value in the Interest Adjustment formula. Although it is not stated anywhere in
       the annuity contract, and in breach of the annuity contract, Midland uses a self-selected new




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       money rate and not “The Current Interest Rate (excluding any additional interest) offered for
       new Certificates.”

              22.     Midland also does not define anywhere in its annuity contracts how its self-

       selected new money rate is calculated. Nor does Midland disclose in its annuity contracts that a

       new money rate will be used to calculate the “it” value in the Interest Adjustment formula.

       Instead, its annuity contracts provide that the rate will be the Interest Adjustment.

              23.     Midland’s standardized annuity contracts never refer to a “new money rate” or

       specifically define the term. Instead, the only reference to a new money rate is wholly unrelated

       to the calculation of the Surrender Value. It is located in Section 4 entitled “CALCULATION

       OF THE FIXED ACCOUNT VALUE.” Section 4.2, entitled “Current Interest Rate,” states in

       relevant part that “We will also declare the Current Interest Rate for any subsequent premiums or

       amounts transferred to the Fixed Account.” That is, for new money added to the existing annuity

       contract, Midland will declare an applicable interest rate. However, Section 4.2’s provision

       regarding the Current Interest Rate for new money transferred to the Fixed Account of the

       contract is not related to section 6.3’s interest adjustment formula for section 6 surrenders and

       the underlying Current Interest Rate for “new Certificates” (or “new Contracts”).

              24.     The contracts for the annuities owned by plaintiff and Class members state that

       the Interest Adjustment will be calculated using the Current Interest Rate offered for new

       Certificates (or Contracts). Therefore, Midland is not permitted under the annuity contracts to

       use self-selected new money rates applied to subsequent premiums or amounts to the Fixed

       Account of the existing annuity contract. Instead, reasonable consumers would expect that

       Midland would use the interest rate that it applies at the time to new purchases of the particular

       Midland deferred annuity being surrendered. That is, if a Legacy Bonus 11 certificate is being

       surrendered, then when calculating the Interest Adjustment, Midland must apply the current

       interest rate it is offering consumers who then purchase a Legacy Bonus 11 certificate or, if the

       Legacy Bonus 11 is not offered, the current interest rate of a comparable deferred annuity.




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       Under the contracts Midland cannot ignore the interest rate it is then paying on new contracts at

       the time of the surrender.

              25.     The effect of Midland’s improper practice of using an unspecified rate to calculate

       the Interest Adjustment is to decrease the Surrender Value received by plaintiff and the Class

       members when surrendering their annuities, in whole or in part.

              26.     Like the other Class members, plaintiff was subject to Midland’s unlawful Interest

       Adjustment practice. Midland applied a 3.55% current interest rate to calculate the Interest

       Adjustment applicable to plaintiff’s surrender of his Legacy Bonus 11 annuity. Using this rate

       (or the method of its calculation), ostensibly a new money interest rate that would be applied to

       subsequent premiums or amounts transferred to the Fixed Account of the existing contract, is not

       permitted under the terms of the fully integrated annuity contract. Moreover, the then current

       interest rates Midland was offering on new contracts for comparable Midland annuities (those

       having similar surrender periods and initial premium bonuses to a Legacy Bonus 11 annuity) had

       interest rates lower than 3.55%. Therefore, the effect of Midland’s application of an undisclosed

       new money interest rate to the Interest Adjustment for the surrender of plaintiff’s annuity

       contract, and not the current interest rate Midland was then offering for the contract or

       comparable annuity products, was to decrease the Surrender Value paid to plaintiff by tens of

       thousands of dollars.

              27.     Each of Midland’s deferred annuity products are governed by integrated

       adhesionary contracts containing the same Interest Adjustment formula systematically breached

       by Midland.

              28.     Midland’s application of any interest rate other than the interest rate Midland was

       offering for new contracts to the Interest Adjustment formula constitutes a breach of contract.

              29.     The above conduct, acts and omissions by Midland are ongoing.

              30.     Plaintiff was not aware of the facts giving rise to the complaint, including the

       unlawful manner in which Midland calculates the Interest Adjustment until after he surrendered

       his annuity contract.


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              31.     Midland’s unlawful acts resulted in the loss of money to plaintiff and the Class

       members, and unjustly enriched Midland.

              32.     The acts complained of in this lawsuit do not relate to the offering of advice

       related to Midland deferred annuities, or the design, solicitation and sale of Midland deferred

       annuities, including the crediting of interest to policy accounts.

                                CLASS DEFINITION AND ALLEGATIONS
              33.     Plaintiff brings this action on behalf of himself and members of a Class defined

       as:
                      All persons who purchased a deferred annuity issued by Midland National
              Life Insurance Company that was surrendered, in whole or in part, prior to the
              contract’s Maturity Date. Excluded from the Class are defendant and its officers,
              directors and employees.

              34.     Numerosity. The members of the Class are so numerous that their individual
       joinder is impracticable. Plaintiff is informed and believes, and on that basis alleges, that the

       proposed Class contains many thousands of members. The precise number of Class members is

       unknown to plaintiff. The true number and identity of Class members is known by the

       defendant, however, and thus, Class members may be notified of the pendency of this action by

       first class mail, electronic mail, and by published notice.

              35.     Existence and Predominance of Common Questions of Law and Fact.
       Common questions of law and fact exist as to all members of the Class and predominate over

       any questions affecting only individual Class members.            These common legal and factual

       questions include, but are not limited to, the following:

                                        (a)    whether Midland’s deferred annuity contracts contain

                       standardized Interest Adjustment formulas;

                                        (b)    whether Midland calculates the Interest Adjustment

                       pursuant to the terms of its annuity contracts;

                                        (c)    whether the alleged conduct constitutes violations of the

                       laws asserted;


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                                          (d)   whether plaintiff and Class members have sustained

                        monetary loss and the proper measure of that loss;

                                          (e)   whether plaintiff and Class members are entitled to

                        declaratory and injunctive relief.

              36.      Typicality. Plaintiff’s claims are typical of the claims of the members of the Class
       in that the claims are the same.

              37.      Adequacy of Representation. Plaintiff will fairly and adequately protect the
       interests of the members of the Class. Plaintiff has retained counsel experienced in complex

       consumer class action litigation, and plaintiff intends to prosecute this action vigorously.

       Plaintiff has no adverse or antagonistic interests to those of the Class.

              38.      Superiority. A class action is superior to all other available means for the fair and
       efficient adjudication of this controversy. The damages or other financial detriment suffered by

       individual Class members is relatively small compared to the burden and expense that would be

       entailed by individual litigation of their claims against the defendant. It would thus be virtually

       impossible for the Class, on an individual basis, to obtain effective redress for the wrongs done

       to them.     Furthermore, individualized litigation would create the danger of inconsistent or

       contradictory judgments arising from the same set of facts. Individualized litigation would also

       increase the delay and expense to all parties and the court system from the issues raised by this

       action. By contrast, the class action device provides the benefits of adjudication of these issues

       in a single proceeding, economies of scale, and comprehensive supervision by a single court, and

       presents no unusual management difficulties under the circumstances here.

              39.      In the alternative, the Class may also be certified because:

                                          (a)   the prosecution of separate actions by individual Class

                        members would create a risk of inconsistent or varying adjudication with respect

                        to individual Class members that would establish incompatible standards of

                        conduct for the defendant;




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                                        (b)     the prosecution of separate actions by individual Class

                        members would create a risk of adjudications with respect to them that would, as

                        a practical matter, be dispositive of the interests of other Class members not

                        parties to the adjudications, or substantially impair or impede their ability to

                        protect their interests; and/or

                                        (c)     defendant has acted or refused to act on grounds generally

                        applicable to the Class thereby making appropriate final declaratory and/or

                        injunctive relief with respect to the members of the Class as a whole.

               40.     Unless a Class is certified, defendant will retain monies received as a result of its

       conduct that was taken from plaintiff and Class members. Unless a Class-wide injunction is

       issued, defendant will continue to commit the violations alleged, and the members of the Class

       and the general public will continue to be misled.

                                                     COUNT I

                                                Breach of Contract
               41.     Plaintiff repeats and realleges the allegations contained in the paragraphs above,

       as if fully set forth herein.

               42.     Plaintiff brings this claim individually and on behalf of the Class.

               43.     Under each Class member’s annuity contract, Midland was required to calculate

       the Interest Adjustment pursuant to the formula specified in the annuity contract.

               44.     All conditions precedent to Midland’s liability under its standardized contract

       have been performed by plaintiff and the Class.

               45.     Midland breached the terms of its standardized contract with plaintiff and the

       Class by failing to calculate the Interest Adjustment pursuant to the terms of the contract. By

       failing to do so Midland failed to honor its agreement that “You may surrender this Certificate

       for its Surrender Value at any time prior to the Maturity Date.”

               46.     As a result of Midland’s breach of the subject contracts, plaintiff and the Class

       have been damaged in an amount to be determined at trial.


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                                                    COUNT II

                                               Unjust Enrichment
               47.     Plaintiff repeats and realleges the allegations contained in the paragraphs above,

       as if fully set forth herein.

               48.     Plaintiff brings this claim individually and on behalf of the Class.

               49.     Midland improperly received and continues to improperly receive from plaintiff

       and the Class members millions of dollars as a result of the conduct alleged above.

               50.     As a result, plaintiff and the Class have conferred a benefit on Midland to which

       Midland is not entitled. Midland has knowledge of this benefit, wrongfully and deceptively

       obtained this benefit, and has voluntarily accepted and retained the benefit conferred on it.

       Midland will be unjustly enriched if it is allowed to retain such funds and, therefore, a

       constructive trust should be imposed on all monies wrongfully obtained by Midland and the

       money should be ordered returned to plaintiff and the Class.

                                            PRAYER FOR RELIEF
               Wherefore, plaintiff prays for a judgment:

               A.      Certifying the Class as requested herein;

               B.      Awarding plaintiff and the proposed Class members damages;

               C.      Awarding restitution to plaintiff and the proposed Class members;

               D.      Awarding declaratory and injunctive relief as permitted by law or equity,

       including: enjoining defendant from continuing the practices as set forth herein, and directing

       defendant to identify, with Court supervision, victims of its conduct and pay them all monies

       acquired by defendant by means of any act or practice declared by this Court to be wrongful;

               E.      Declaring the rights and obligations of the parties under the annuity contracts

       concerning the Surrender Value;

               F.      Ordering an accounting;

               G.      Awarding attorneys’ fees and costs; and

               H.      Providing such further relief as may be just and proper.


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                                               JURY DEMAND
             Plaintiff demands a trial by jury on all issues so triable.

       Dated: August 11, 2010                          BRADY & O’SHEA, PC

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